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                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


CHRISTOPHER SEAMAN and ELIZABETH
ALLISON LYONS, individually and on behalf
of C.S., a minor; et al.

               Plaintiffs,
                                                       Case No. 3:22-cv-00006-NKM
        v.

The COMMONWEALTH OF VIRGINIA; et al.

               Defendants.

                                                       PLAINTIFFS’ MOTION FOR
                                                       TEMPORARY RESTRAINING
                                                       ORDER AND PRELIMINARY
                                                       INJUNCTION




       Plaintiffs hereby respectfully move for a temporary restraining order and preliminary

injunction.

       Plaintiffs seek injunctive relief to stop enforcement of Virginia Executive Order 2 (Jan.

15, 2022) insofar as it bars schools and localities from requiring masking in the schools. By

prohibiting that basic public health measure, Defendants are preventing public entities statewide

from complying with the Americans with Disabilities Act (“ADA”) and the Rehabilitation Act.

Defendants are illegally forcing Virginia families of children with disabilities to choose between

their child’s education and their child’s health and safety. Further, Executive Order 2 needlessly

and unconscionably exposes Virgnia school children and their families to a heightened risk of
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infection, hospitalization, and death from COVID-19 infection. It is against the calamitous

consequences of Executive Order 2 that Plaintiffs seek emergency injunctive relief.

        Plaintiffs can demonstrate that they are likely to succeed on the merits because

Defendants are discriminating against students with disabilities in violation of federal law;

Plaintiffs are likely to suffer irreparable harm in the absence of preliminary relief; the balance of

equities tips in Plaintiffs’ favor; and an injunction is in the public interest.

        This motion is supported by a memorandum of law which will be filed

contemporaneously.



Dated: February 10, 2022
                                                Respectfully submitted,

                                                /s/ Eden B. Heilman
                                                Eden B. Heilman (Va. Bar No. 93554)
                                                Matthew Callahan (pro hac vice to be filed)
                                                Monique Gillum (pro hac vice to be filed)
                                                American Civil Liberties Union (ACLU)
                                                Foundation of Virginia
                                                701 E. Franklin St., Suite 1412
                                                Richmond, VA 23219
                                                Tel: (804) 644-8022
                                                Fax: (804) 649-2733
                                                eheilman@acluva.org
                                                mcallahan@acluva.org
                                                mgillum@acluva.org

                                                Eve L. Hill (VA Bar # 96799)
                                                Sharon Krevor-Weisbaum (pro hac vice to be filed)
                                                Jessica Weber (pro hac vice to be filed)
                                                Brown Goldstein Levy LLP
                                                120 E. Baltimore Street, Suite 2500
                                                Baltimore, MD 21202
                                                Tel: (410) 962-1030
                                                Fax: (410) 385-0869
                                                EHill@browngold.com
                                                skw@browngold.com
                                                jweber@browngold.com
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                                 Steven M. Traubert (Va. Bar #41128)
                                 Kerry M. Chilton (Va. Bar #90621)
                                 disAbility Law Center of Virginia
                                 1512 Willow Lawn Drive, Suite 100
                                 Richmond, Virginia 23230
                                 (804)225-2042
                                 steven.traubert@dLCV.org
                                 kerry.chilton@dLCV.org

                                 Ian S. Hoffman (VA Bar #75002)
                                 John A. Freedman (pro hac vice to be filed)
                                 Arnold & Porter Kaye Scholer LLP
                                 601 Massachusetts Ave., N.W.
                                 Washington, DC 20001
                                 Tel: (202) 942-5000
                                 Fax: (202) 942-5999
                                 Ian.Hoffman@arnoldporter.com
                                 John.Freedamn@arnoldporter.com

                                 Kaitlin Banner (pro hac vice to be filed)
                                 Margaret Hart (pro hac vice to be filed)
                                 Marja K. Plater (pro hac vice to be filed)
                                 WASHINGTON LAWYERS’
                                 COMMITTEE FOR CIVIL RIGHTS AND
                                 URBAN AFFAIRS 700 14th Street, NW, Suite 400
                                 Washington, DC 20005 Phone: (202) 319-1000
                                 Fax: (202) 319-1010
                                 kaitlin_banner@washlaw.org
                                 margaret_hart@washlaw.org
                                 marja_plater@washlaw.org

                                 Counsel for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of February 2022, I filed the foregoing document

with the Clerk of Court using the CM/ECF system, and I hereby certify that I have mailed by

United States Postal Service the document to the following non-CM/ECF participants:


       Commonwealth of Virginia
       Secretary of the Commonwealth
       1111 E. Broad St., #4
       Richmond, VA 23219

       Governor Glenn Youngkin
       Office of the Governor
       P.O. Box 1475
       Richmond, VA 23218

       Attorney General Jason Miyares
       Office of the Attorney General
       202 North Ninth Street
       Richmond, VA 23219

       Jillian Balow
       Virginia Superintendent of Public Instruction
       James Monroe Building
       101 N. 14th Street
       Richmond, VA 23219

       Colin Greene
       Acting Virginia Health Commissioner
       Virginia Department of Health
       109 Governor Street
       Richmond, VA 23219


                                                     /s/ Eve L. Hill
                                             Eve L. Hill (VA Bar # 96799)
                                             Brown Goldstein Levy LLP
                                             120 E. Baltimore Street, Suite 2500
                                             Baltimore, MD 21202
                                             Tel: (410) 962-1030
                                             Fax: (410) 385-0869
                                             EHill@browngold.com
